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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF LOUISIANA
                                LAKE CHARLES DIVISION

  THE STATE OF LOUISIANA, et al.,                             No. 2:24-cv-629-DCJ-TPL

                                 Plaintiffs,                    Judge David C. Joseph

  v.                                                     Magistrate Judge Thomas P. LeBlanc

  EQUAL EMPLOYMENT OPPORTUNITY
  COMMISSION,
                                 Defendant.

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  UNITED STATES CONFERENCE OF                                 No. 2:24-cv-691-DCJ-TPL
  CATHOLIC BISHOPS, et al.,
                                                                Judge David C. Joseph
                                 Plaintiffs,
                                                         Magistrate Judge Thomas P. LeBlanc
  v.

  EQUAL EMPLOYMENT OPPORTUNITY
  COMMISSION, et al.,
                                 Defendants.


            BISHOPS PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY
         IN SUPPORT OF THEIR MOTION FOR PARTIAL SUMMARY JUDGMENT
                         AND PERMANENT INJUNCTION
       The Bishops respectfully submit this notice regarding Catholic Benefits Association v. Lucas,

 No. 1:24-cv-142, 2025 WL 1144768 (D.N.D. Apr. 15, 2025).
       In their summary judgment briefing, the Bishops cited Catholic Benefits Association v.

 Burrows, 732 F. Supp. 3d 1014 (D.N.D. 2024), in support of their standing and ripeness arguments

 and on their Religious Freedom Restoration Act (RFRA) claim. See USCCB.MSJ.28-31;

 USCCB.MSJ.Resp.2-5, 26-28; USCCB.MSJ.Reply.1-3. There, a court found standing and

 ripeness and then granted a preliminary injunction in parallel PWFA litigation on the grounds that



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 EEOC’s Final Rule and accompanying guidance imposed a substantial burden on a Catholic

 organization’s beliefs on human sexuality and procreation that was neither supported by a

 compelling interest nor narrowly tailored to further such an interest. Burrows, 732 F. Supp. 3d at

 1025-27 (relying on, among other cases, Braidwood and Franciscan Alliance). That injunction has

 now been made permanent because “[t]he facts and evidence … have not changed since the

 preliminary injunction was issued.” Catholic Benefits Ass’n, 2025 WL 1144768, at *3.

    So too here. EEOC has done nothing but “reiterate[ ] the same arguments” from its preliminary-

 injunction briefing, id., all of which fail, see USCCB.MSJ.Reply.15-17. The Bishops have standing

 and their claims are ripe. USCCB.MSJ.Reply.1-4. The Final Rule imposes a substantial burden on

 the Bishops by forcing them to choose between following their religious beliefs on abortion,

 contraception, and certain fertility treatments and risking liability and intrusive, entangling

 litigation; EEOC’s generalized anti-discrimination interest fails to demonstrate why it cannot grant

 an exemption to the Bishops; and EEOC’s “case-by-case” approach leaves several less-restrictive

 means of achieving this purported interest—including the exemption written into PWFA itself—

 on the table. USCCB.MSJ.28-31.

    Additionally, Catholic Benefits Association adopted the recent holding on standing in Stanley

 M. Herzog Foundation v. EEOC, No. 4:24-cv-651 (W.D. Mo. Mar. 18, 2025): Acting Chair Lucas’s
 “intent to revisit” the Final Rule did not defeat standing because “‘in the meantime the Final Rule

 remains the law’ and ‘the EEOC cannot disavow enforcement or act to change the Final Rule at

 this time.’” Catholic Benefits Ass’n, 2025 WL 1144768, at *3 (quoting Herzog); see also ECF 109

 (Bishops’ notice of supplemental authority regarding Herzog). This conclusion was bolstered by

 the many PWFA enforcement actions EEOC had taken against others since the filing of the lawsuit.

 Catholic Benefits Ass’n, 2025 WL 1144768, at *2 (collecting cases).




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                                                Respectfully submitted,
                                                /s/ Daniel H. Blomberg
  Jonathan Berry                                Daniel H. Blomberg
   (W.D. La. Temporary Bar No. 918121)            (W.D. La. Temporary Bar No. 918117)
  James R. Conde                                  Trial Attorney
   (W.D. La. Temporary Bar No. 918116)          /s/ Michael J. O’Brien
  Boyden Gray PLLC                              Michael J. O’Brien
  800 Connecticut Ave. NW, Suite 900              (LA Bar No. 38852)
  Washington, DC 20006
                                                Laura Wolk Slavis
  Phone: (202) 955-0620                           (W.D. La. Temporary Bar No. 918118)
  Fax: (202) 955-0621
                                                Andrea R. Butler
  jberry@boydengray.com                           (W.D. La. Temporary Bar No. 918119)
                                                Jordan T. Varberg
                                                  (W.D. La. Temporary Bar No. 918120)
                                                The Becket Fund for Religious Liberty
                                                1919 Pennsylvania Ave. NW, Suite 400
                                                Washington, DC 20006
                                                Phone: (202) 955-0095
                                                Fax: (202) 955-0090
                                                dblomberg@becketfund.org


                              Counsel for Bishops Plaintiffs
 Dated: April 28, 2025




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                                 CERTIFICATE OF SERVICE

    I hereby certify that on April 28, 2025, the foregoing was served on counsel for all parties via

 the Court’s CM/ECF system.

                                                         /s/ Daniel H. Blomberg
                                                         Daniel H. Blomberg
                                                           (W.D. La. Temporary Bar No. 918117)
                                                           Trial Attorney
                                                         /s/ Michael J. O’Brien
                                                         Michael J. O’Brien
                                                           (LA Bar No. 38852)

 Dated: April 28, 2025




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